                     Case 3:06-cr-00299-FAB                  Document 1458              Filed 04/06/11           Page 1 of 5
OAO 245B      (Rev. 09/08) Judgment in a Criminal Case
              Sheet 1



                                         UNITED STATES DISTRICT COURT
                        JUDICIAL                                  District of                              PUERTO RICO
          UNITED STATES OF AMERICA                                        JUDGMENT IN A CRIMINAL CASE
                              V.
                                                                          Case Number:                      06-CR-299-5 (CCC)
         5- JOSE LUIS CABRERA-COSME                                       USM Number:                       30094-069
               aka: “Luis Villalobos”
                                                                          Elfrick Mendez, Esq.
                                                                          Defendant’s Attorney
THE DEFENDANT:
9 pleaded guilty to count(s)
G pleaded nolo contendere to count(s)
   which was accepted by the court.

X was found guilty on count(s)          One (1) and Two (2) on June 11, 2010
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                    Nature of Offense                                                        Offense Ended               Count
21:841(a)(1), 841(b)(1)(A)         Conspiracy to possess and possession with intent to distribute           August 2006                 One
& 860                              marihuana within 1000 ft of a protected location.
18:924(c)(1)(A)(I), (c)(1)         Conspiracy to use, carry, possess and discharge firearms.                August 2006                 Two
(A)(ii), (c)(1)(A)(iii) &
924(o)

       The defendant is sentenced as provided in pages 2 through                5        of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.

G The defendant has been found not guilty on count(s)
9 Count(s)                                               9 is     9 are dismissed on the motion of the United States.
         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                          April 6, 2011
                                                                          Date of Imposition of Judgment



                                                                          S/ Carmen Consuelo Cerezo
                                                                          Signature of Judge


                                                                          CARMEN CONSUELO CEREZO, U.S. DISTRICT JUDGE
                                                                          Name and Title of Judge


                                                                          April 6, 2011
                                                                          Date
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AO 245B (Rev. 09/08) Judgment in Criminal Case
        Sheet 2 — Imprisonment
                                                                                               Judgment — Page          2       of   5
DEFENDANT:                  JOSE L. CABRERA-COSME
CASE NUMBER:                06-CR-299-05 (CCC)


                                                            IMPRISONMENT

           The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of:

                     Remainder of his natural life as to count one and 10 YEARS as to count two, to be served
                     consecutively to each other.


      X   The court makes the following recommendations to the Bureau of Prisons:
          It is recommended that the defendant serve his term of imprisonment in the state of Alabama.




      X   The defendant is remanded to the custody of the United States Marshal.

      G The defendant shall surrender to the United States Marshal for this district:
          G     at                             G a.m.        G p.m.         on                                              .

          G     as notified by the United States Marshal.

      G The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          G     before 2 p.m.                                          .

          G     as notified by the United States Marshal.

          G     as notified by the Probation or Pretrial Services Office.



                                                                RETURN
I have executed this judgment as follows:




          Defendant delivered                                                         to

at                                               , with a certified copy of this judgment.




                                                                                                UNITED STATES MARSHAL


                                                                           By
                                                                                             DEPUTY UNITED STATES MARSHAL
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AO 245B       (Rev. 09/08) Judgment in a Criminal Case
              Sheet 3 — Supervised Release
                                                                                                           Judgment—Page      3     of           5
DEFENDANT:                     JOSE L. CABRERA-COSME
CASE NUMBER:                   06-CR-299-05 (CCC)
                                                         SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of :

    TEN YEARS as to count one and FIVE YEARS as to count two, to be served concurrently with each other.

Under the following terms and conditions:
     The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment.

9        The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of
         future substance abuse. (Check, if applicable.)
X        The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
X        The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

G        The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
         student, as directed by the probation officer. (Check, if applicable.)

G        The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
    If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule of Payments sheet of this judgment.
     The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                           STANDARD CONDITIONS OF SUPERVISION
    1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
    2)    the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
          each month;
    3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
    4)    the defendant shall support his or her dependents and meet other family responsibilities;
    5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
          acceptable reasons;
    6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
    7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
          controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
    8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
    9)    the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
          felony, unless granted permission to do so by the probation officer;
 10)      the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
          contraband observed in plain view of the probation officer;
 11)      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
          permission of the court; and
 13)      as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s criminal
          record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
          defendant’s compliance with such notification requirement.
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AO 245B   (Rev. 09/08) Judgment in a Criminal Case
          Sheet 3A — Supervised Release
                                                                                     Judgment—Page   4    of      5
DEFENDANT:                JOSE L. CABRERA-COSME
CASE NUMBER:              06-CR-299-05 (CCC)

                                    ADDITIONAL SUPERVISED RELEASE TERMS


   The defendant shall refrain from the unlawful use of controlled substances and submit to a drug test within fifteen
(15) days of release; thereafter, submit to random drug testing, no less than three (3) samples during the supervision
period and not to exceed 104 samples per year accordance with the Drug Aftercare Program Policy of the U.S.
Probation Office approved by this Court. If any such samples detect substance abuse, the defendant shall participate
in an in-patient or out-patient substance abuse treatment program for evaluation and/or treatment, as arranged by the
U.S. Probation Officer until duly discharged. The defendant is required to contribute to the cost of services rendered
(co-payment) in an amount arranged by the U.S. Probation Officer based on the ability to pay or availability of third
party payments.
   The defendant shall provide the U.S. Probation Officer access to any financial information, upon request, and
shall produce evidence to the U.S. Probation Officer to the effect that income tax returns have been duly filed
within his place of residence as required by law.
   The defendant shall submit his person, residence, office or vehicle to a search, conducted by a United States
Probation Officer at a reasonable time and in a reasonable manner, based upon reasonable suspicion of contraband
or evidence of a violation of a condition of release; failure to submit to a search may be grounds for revocation; the
defendant shall warn any other residents that the premises may be subject to searches pursuant to this condition.
   The defendant shall cooperate in the collection of a DNA sample as directed by the U.S. Probation Officer,
pursuant to the Revised DNA Collection Requirements, and Title 18, U.S. Code § 3563(a)(9).
   The defendant shall participate in a vocational training and/or job placement program recommended by the U.S.
Probation Officer.
    Having considered the defendant’s financial condition, a fine will not be imposed.
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AO 245B    (Rev. 09/08) Judgment in a Criminal Case
           Sheet 5 — Criminal Monetary Penalties
                                                                                                             Judgment — Page       5    of       5
DEFENDANT:                         JOSE L. CABRERA-COSME
CASE NUMBER:                       06-CR-299-05 (CCC)
                                               CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                       Assessment                                             Fine                                   Restitution
TOTALS             $ 200                                                   $ NONE                               $ NONE


G    The determination of restitution is deferred until                   . An Amended Judgment in a Criminal Case (AO 245C) will be entered
     after such determination.

G    The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
     the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
     before the United States is paid.

Name of Payee                                  Total Loss*                              Restitution Ordered                    Priority or Percentage




TOTALS                               $                                0           $                             0


G     Restitution amount ordered pursuant to plea agreement $

G     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

G     The court determined that the defendant does not have the ability to pay interest and it is ordered that:

      G the interest requirement is waived for the               G fine       G      restitution.

      G the interest requirement for the              G   fine    G       restitution is modified as follows:


* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.
